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                                           United States Bankruptcy Court
                                             Northern District of Texas
                                                   Dallas Division
High Plains Radio Network LLC                                                             Case No. 24‐70089

                                        VERIFICATION OF CREDITOR MATRIX

                     Name                               Address1                                Address2                  City      State            Zip
Ailco                                 W222 N833 Chaney Rd                                                     Waukesha           WI         53186
Ailco Equipment Finance Group Inc.    W 222 N 833 Cheaney Road                                                Waukesha           WI         53186
American Express                      PO Box 6031                                                             Carol Stream       IL         60197‐6031
Amur                                  304 W. 3rd St                                                           Grand Island       NB         68801
Arrakis Automations                   6604 Powell St                                                          Loveland           Co         80537
ASCAP                                 250 West 57th St                                                        New York           NY         10107
Ascentium                             23970 HWY 59 Nth.                                                       Kingwood           TX         77339
Atmos Energy                          PO Box 740353                                                           Cincinnati         OH         45274‐0353
Balboa                                575 Anton Blvd 12th Flr.                                                Costa Mesa         CA         92626
Black Hills Natural Gas               PO Box 6006                                                             Rapid City         SD         57709
Blue Bridge                           11921 Freedom Dr.                                                       Reston VA          VA         20190
Blue Bridge Financial LLC             11921 Freedom Dr.                      Suite 1130                       Reston             VA         20190
Bluepeak Telephone                    5100 S. Broadband Lane                                                  Sioux Falls        SD         57108
BMI                                   PO Box 630893                                                           Cincinnati         OH         45263‐0893
Bryn Mawr Equipment Finance Inc.      801 Lancaster Avenue                                                    Bryn Mawr          PA         19010
CT Corp. Sys.                         Attn: SPRS                             330 N Brand Blvd                 Glendale           CA         91203
Channel Partners Capital              11100 Wayzata Blvd                                                      Minnetonka         MN         55305
City of Altus                         509 S Main St                                                           Altus              OK         73521
City of Hereford                      PO Box 2277                                                             Hereford           TX         79045‐2277
City of Plainview                     202 W 5th                                                               Plainview          TX         79072
City of Vernon                        1725 Wilbarger St                                                       Vernon             TX         76384‐4741
Crest Capitol                         PO Box 88233                                                            Atlanta            GA         30356
Entergy Utility                       PO Box 8105                                                             Baton Rouge        LA         70891‐8105
Excel Energy                          PO Box 9477                                                             Minneapolis        MN         55484‐9477
Federal Communications Com.           45 L Street NE                                                          Washington         DC         20554
Financial Agent Services              PO Box 2576                                                             Springfield        IL         62708
First State Bank Athens               PO Box 471                                                              Athens             TX         75751
Global Music Rights                   1801 W Olympic Blvd                                                     Pasadena           CA         91199‐2280
Hamni Bank                            5403 Olympic Dr. #200                                                   Gig Harbor         WA         98335
Hanszen LaPorte                       14201 Memorial Dr                                                       Houston            TX         77079
Hitachi Capital America Corp.         7808 Creekridge Circle                 Suite 250                        Edina              MN         55439
Internal Revenue Service              Centralized Insolvency Operation       PO Box 7317                      Philadelphia       PA         19101‐7317
Liberty Mutual Insurance              175 Berkeley St                                                         Boston             MA         02116
Litefund Solutions                    99 Wall St #2613                                                        New York           NY         10005
Marlin ‐ Peak Com.                    300 Fellowship Rd                                                       Mt. Laurel         NJ         08054
Marlin Leasing Corp                   300 Fellowship Rd                                                       Mount Laurel       NJ         08054
Media Facilities                      1740 Dell Range Blvd. #418                                              Cheyenne           WY         82009
Meridian                              367 Eagleview Blvd.                                                     Exton              PA         19341
Meridian Equipment Finance LLC        9 Old Lincoln Highway                                                   Malvern            PA         19355
Midland States Bank                   1801 Park 270 Drive                    Suite 200                        St. Louis          MO         63146
Mitsubishi HC                         7201 Metro Blvd. Ste 800                                                Edina              MN         55439
Monte Spearman                        PO Box 3649                                                             Palestine          TX         80534



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                                                  United States Bankruptcy Court
                                                    Northern District of Texas
                                                          Dallas Division
High Plains Radio Network LLC                                                                        Case No. 24‐70089

                                               VERIFICATION OF CREDITOR MATRIX

                    Name                                    Address1                              Address2                               City      State            Zip
New Lane Fin. B‐M                         801 Landcaster Ave                                                                 Bryn Mawr          PA         19010
North Arkansas Electric                   PO Box 1000                                                                        Salem              AR         72576‐1000
Optimum Telephone                         1111 Stewart Ave.                                                                  Bethpage           NY         11714‐3581
Pawnee                                    3801 Automation Way #207                                                           Ft Collins         CO         80525
SBA Covid‐19 Disaster Loan                PO Box 3918                                                                        Portland           OR         97208‐3918
SecureNet                                 101 N Federal HWY Ste 601                                                          Boca Raton         FL         33432
SESAC                                     PO Box 5246                                                                        New York           NY         10008‐5246
Summit                                    4680 Parkway Dr #300                                                               Mason              OH         45040
Summit Natural Gas                        PO Box 676358                                                                      Dallas             TX         75267‐6357
The Fundworks                             299 S. Main St. #1300                                                              Salt Lake City     UT         84111
Turbo Capital                             2308 N Market St                                                                   Wilmington         DE         19802
TXU Utility                               PO Box 650638                                                                      Dallas             TX         75265‐0638
U.S. Bank Equipment Finance               1310 Madrid Street                                                                 Marshall           MN         56258
U.S. Small Business Administration        1545 Hawkins Blvd                      Suite 202                                   El Paso            TX         79925
United First LLC                          2999 NE 191st St                                                                   Miami              FL         33180
United Funding                            1835 E Hollandale Beach BLVD                                                       Hollandale Beach   FL         33009
Verizon Cell Phone                        PO Box 660108                                                                      Dallas             TX         75266‐0108
Vertical Bridge                           750 Park of Commerce Dr #200                                                       Boca Raton         FL         33487
Zula Com                                  PO Box 3649                                                                        Palestine          TX         75801
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The above‐named Debtor hereby verifies that the creditors list above is true and correct to the best of the knowledge of the Debtor.

Dated:                                       3/29/2024

Debtor:                                      High Plains Radio Network LLC

                                             By: /s/ Monte Spearman
                                             Manager / President




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